EXHIBIT A

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

sTAFF INSPECToR DEBRA FRAZIER, et al
v. § No.: 2:17-cv-05421-WB

CITY OF PHILADELPHIA, et al.

PLAINTIFFS’ SECOND SET OF REOUESTS FOR PRODUCTION OF DOCUMENTS
DIRECTED TO DEFENDANT. CITY OF PHILADELPHIA

Plaintiffs, Staff Inspector Debra Frazier, Captain Laverne Vann, Lieutenant Anthony
Burton, and Police Officer Shamal Bryant, by and through their undersigned counsel, hereby
requests, pursuant to the Federal Rules of Civil Procedure, that Defendant, City of Philadelphia
doing business as the Philadelphia Police Department provide them with clear, accurate copies of
the following documents Response is to be served upon counsel within thirty days.

INSTRUCTIONS AND DEFINITIONS

(a) All requests for production are to be regarded as concerning past and present
incidents, activities, and practices

(b) The singular form should be taken to include the plural, and vice versa.

(c) Wherever “you,” “defendant,” “police,” “Police Department,” “City,” or similar
term is 'used, it should be taken to include all employees, officers, co-workers and agents of any
defendant “Agent” is used in a broad sense to include anyone acting on behalf or in the interest
of, Whether directly or indirectly, openly or covertly, or with or without compensation

(d) These interrogatories are deemed to be continuing, and defendant has the duty to
supplement its responses. See Fed. R. Civ. P. 26(e).

(e) If any form of privilege or other protection from disclosure is claimed as a ground

for withholding a document or responsive information contained in a document, set forth with

respect to the document, the date, title, identity of the author, subject matter (without revealing
the information for which the privilege is claimed) and each and every fact or basis on Which you
claim your privilege with sufficient specificity to permit the Court to make a determination as to
whether the claim of privilege is valid.

(i) The term “document” shall refer to all Writings and material of any kind,
including, but not limited to, orders, instructions, reports, directives, summaries, interviews,
complaints, statements (whether signed or unsigned), transcripts, regulations, memoranda, notes,
correspondence (including electronic mail correspondence), computerized data or records,
diagrams, maps and drafts. “Document” also refers to records including, but not limited to,
photographs, microfilm, videotape, audiotape, motion pictures and any other originals and
copies.

(g) The terms “police officer” or “officer” shall refer to ofticers, employees, or
supervisors of the Defendant Police Department, of whatever rank or assignment

(h) The term “Police Department” or “Department” shall refer to oi`ficers, employees,
or supervisors of the Philadelphia Police Department, of whatever rank or assignment

(i) The response of the Borough of Souderton should be made by a person With the
appropriate knowledge and position and should state who is responding and Why that person was
selected.

(j) The term “flipping” shall refer to the practice of gathering information by flipping
arrestees, which includes procedures to make “make drugs go away” by falsification of property
receipts that are used in court prosecutions to identify narcotics and chain of custody of evidence

The practice of flipping requires an officer to obscure the source of recovered narcotics if an

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arrestee is willing to provide information by falsifying the property receipt required pursuant to
the arrest, which circumvents the approved Contidential Informant Directive that is currently in
place in the Philadelphia Police Department.

REQUESTS FOR PRODUCTION

l. _Provide all property receipts regarding narcotics completed by the Narcotics
Bureau of the Philadelphia Police Department that have been created and/or filed since March l,
2017 through present, including, without limitation, all such property receipts that classify the
source / location of the narcotics as other-than in the physical possession of an individual and/or
that classifies the narcotics as an “investigative object.”

2. F or each identified property receipt responsive to Request No. l above, provide
the associated criminal complaint, PARS, and any other reports or documents in possession,
custody or control of the Philadelphia Police Department, including all narcotics allegedly
noted.

3. Identity of each person allegedly involved in any “flipping” activities or informal
confidential informant or catch and release activities, along with all documents associated with
same, for same time period.

4. All documents, including, without limitation, any reports', recommendations,
transcripts of interview, internal memorandums, email communications, letters, regarding the
Internal Affairs Division investigations concerning the allegations in Plaintiffs’ Operative
Complaint.

An official of the Defendant with knowledge of the matter contained in the responses to

these Requests, must sign, date, and submit to counsel a Verification With the production

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responses Signature of counsel is not acceptable

WEISBERG LAW MILDENBERG LAW FIRM

/s/ Matthew B. Wez`sberz_r /s/ Brz`an R. Mildenber,q
MATTHEW B. WEISBERG, ESQ. BRIAN R. MILDENBERG, ESQ.
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CERTIFICATE OF SERVICE
I, Matthew B. Weisberg, Esquire, hereby certify that on this 19th day of July, 2018, a true
and correct copy of the foregoing Plaintift’ s discovery requests was served via regular mail and
email upon the following party:

Cln'istopher H. Rider, Esq.
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Philadelphia, PA 19102
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WEISBERG LAW

/s/ Matthew B. Weisberg
Matthew B. Weisberg, Esq.

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